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WESTERN DISTRICT 0F TENNESSEE 05 JUL 26 PH 3= 118
THOM@»S M. GOULD
THE cHARTER oAK FIRE INS. CO., ) Cl£RK U,S,. _D¢SYR§CT COlJRT
) W,-® 09 ;?\., :‘!:;l‘l°HlS
Plaimiff, )
)
v. ) Civil Action No.: 05-2428-MafP
)
BROAN NUTONE, LLC, )
)
Defendant. ) JULY 21, 2005

 

…SCHEDULING ORDER

 

Pursuant to Written notice, a scheduling conference Was held telephonically on July 20,
2005. Participating Were Brian P. Hem'y, counsel for the plaintiff and Edward M. Bearman,
counsel for the defendant At the conference, the following dates were established as final dates
for:

INITIAL DISCLOSURES PURSUANT TO Fed. R. Civ. P. 26(3)(1): August ll, 2005

JOINING PARTIES: September 30, 2005
AMENDING PLEADINGS: September 30, 2005
INITIAL MOTIONS TO DISMISS: October 31, 2005
COMPLETING ALL DISCOVERY: Apn`l 30, 2006

(a) DOCUMENT PRODUCTION April 30, 2006

(b) DEPosITIONS, INTERROGATORIES, AND
REQUESTS FoR ADMISSION: April 30, 2006

`-`Tfls document entered on the dock t‘sheet ln_ccm§llanca
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(c) EXPERT WITNESS DISCLOSURE (Rule 26):

(1) DISCLOSURE OF PLAINTIFF’S

RULE 26 EXPERT INFORMATION: February 28, 2006
(2) DISCLOSURE OF DEFENDANT’S
RULE 26 EXPERT INFORMATION: March 31, 2006
(3) EXPERT WITNESS DEPOSITIONS: April 30, 2006
FINAL DISPOSITIVE MOTIONS: May 31, 2006
OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery cutoff date, All motions,
requests for admissions, or other filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to respond by the time permitted
by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the discovery deadline or
Within 30 days of the default or the service of the response, answer, or objection, which is the
subject of the motion, if the default occurs Within 30 days of the discovery deadline, unless the
time for filing of such motion is extended for good cause shown, or the objection to the default,
response, answer, or objection shall be waived.

This case is set for a jury trial. The pretrial order date, pretrial conference date, and trial
date Will be set by the presiding judge. I`l' '5 q’\`HC limited 7"/1 6 `/"‘ "‘?/ L¢/r"/l /¢95 7¢'
17/~ 5' apa 75 '
This case is appropriate for ADR. The parties are directed to engage in court-annexed
attorney mediation or private mediation after the close of discovery

The parties are reminded that pursuant to Local Rule ll(a)(l)(A), all motions, except
motions pursuant to Fed. R. Civ. P. 12, 56, 59, and 60 shall be accompanied by a proposed
Order.

The opposing party may file a response to any motion filed in this matter. Neither party
may file an additional reply, however, without leave of the court. If a party believes that a reply
is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for which a reply is required

The parties have not consented to trial before the magistrate judge.
This order has been entered after consultation With trial counsel pursuant to notice.

Absent good cause shown, the scheduling dates set by this order Will not be modified or
extended

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IT IS SO ORDERED.
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Tu M. Pham
United States Magistrate Judge

Date= lift§m<apam{

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Notice of Distribution

This notice confirms a copy of the document docketed as number 16 in
case 2:05-CV-02428 Was distributed by faX, mail, or direct printing on
July 27, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

